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                                   UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF MONTANA
In Re: MISTY ROBERTS                                                                                      Case No:
          SSN: xxx−xx−3280                                                                                1:21−bk−10080−BPH

        JAMES DARIN CLEMONS                                                                               Chapter: 13
          SSN: xxx−xx−5716

                 Debtors.



                                                     DEFICIENCY NOTICE


           THE FOLLOWING CONTAINS IMPORTANT INFORMATION ABOUT YOUR RECENT
                             BANKRUPTCY CASE FILING.

The above−entitled case was received and filed on 7/13/21 (your filing date). Based upon our review of the
documents included with your filing, a determination has been made that you failed to include and file the following
items. In order to comply with the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005, these items
must be submitted to the Court for filing.

Each of the items checked below must be filed with the Court within 14 days of your filing date. If the following
items (checked boxes) are not received within 14 days of your filing date, your case may be dismissed.

          Filing fee of $313.00.
          Chapter 13 Statement of Current Monthly Income and Calculation of Commitment Period and Disposable Income − (Official
          Form B122C−1)
          Credit Counseling Certification
          Copies of all payment advices (pay stubs) or other evidence of payment, if any, with all but the last four digits of your social
          security number redacted, received from an employer within 60 days before the filing of the petition.
          Record of any interest that you have in an account or program of the type specified in Section 521(c) of the Code as it relates to
          an education individual retirement account. No form needed, just a statement.
          Statement of Social Security Number − (Official Form B121) − To be filed immediately.
          Creditors Mailing Matrix − To be filed within 48 hours of filing the petition.
          Plan
          Statement of Domestic Support Obligation(s).
          Schedules (A−J), Statement of Affairs, and Statement of Intent.




 IF YOU FAIL TO SUBMIT AND FILE WITH THE COURT THE ITEMS IDENTIFIED ABOVE WITHIN
              14 DAYS OF YOUR FILING DATE, YOUR CASE MAY BE DISMISSED.

Certificate of Completion of Financial Management Course is due before an entry of discharge.

Dated: 7/13/21                                                       For the Clerk of Court
                                                                     Tyler P. Gilman

                                                                     By Deputy Clerk:
